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 SO ORDERED.

 SIGNED this 12 day of September, 2023.




                                                             ____________________________________
                                                             David M. Warren
                                                             United States Bankruptcy Judge
______________________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               RALEIGH DIVISION


 IN RE:

 STEPHEN BRADLEY HALFERTY                                  CASE NO. 22-00101-5-DMW
               DEBTOR                                      CHAPTER 13



 EVER-SEAL, INC.,
                      PLAINTIFF
       v.                                                  ADVERSARY PROCEEDING
                                                           NO. 22-00050-5-DMW
 STEPHEN BRADLEY HALFERTY,
               DEFENDANT


                     AMENDED PRETRIAL SCHEDULING ORDER

       Based upon the hearing held on September 12, 2023,

       IT IS HEREBY ORDERED ADJUDGED AND DECREED as follows:

       1.      All discovery shall be completed by October 31, 2023;

       2.      All pretrial motions shall be filed by November 10, 2023;


                                     END OF DOCUMENT
